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                           APPLICATION GRANTED
                           Sentencing is adjourned to 2/19/2021 at 11:30 a.m. The
                           proposed CARES Act findings are sufficient and counsel
                           indicates that defendant will consent to a remote sentencing.
                           Because defendant is housed at the Orange County Jail,
                           which does not currently have the capacity to conduct a
                                             January
                           sentencing by video         8, 2021
                                                 conference, the sentencing will be held
Via E-mail and ECF         by telephone conference. Defendant's sentencing submission
                           due 2/5/2021. Government's submission due 2/12/2021.
The Honorable Vincent L. Briccetti
                           SO ORDERED:
District Judge
Southern District of New York
300 Quarropas Street       __________________________________
White Plains, NY 10601     Vincent L. Briccetti, U.S.D.J. 1/8/2021


       Re:     United States v. Santos Alvarado
               19 Cr. 114-001(VB)


Dear Honorable Briccetti:
       I am writing in regard to Mr. Alvarado’s upcoming sentencing, which is
currently scheduled to occur in person on January 26, 2021 at 3:00pm. In light of
the COVID-19 pandemic and Judge McMahon’s order regarding Court operations,1 I
am writing to ask that Mr. Alvarado be permitted to be sentenced remotely via
videoconference or teleconference pursuant to Section 15002(b)(2)(A) of the Cares
Act in mid to late February.
      A remote plea is appropriate under the Cares Act because further delay
would cause serious harm to the interests of justice. Mr. Alvarado has been in
custody for 22 months and he is not facing a mandatory minimum. While Probation
and the Government’s Piementel letter call for a Guidelines Range of between 46
and 57 months, the defense believes that the applicable guidelines are between 24
and 30 months. Under these circumstances, delay could very well cause serious
harm to the interest of justice as it could lead to unnecessary and prolonged
incarceration for Mr. Alvarado.2




1See January 6, 2021 Order, available online:
https://www.nysd.uscourts.gov/sites/default/files/2021-01/20-mc-
622.1st.Am_.Standing%20Order%20%28corrected%29%20Suspension%20of%20In-
Person%20Operations.pdf

2During a conversation on January 7, 2021, Mr. Alvarado told me that he consented to a remote
sentencing in February or March.
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      In terms of scheduling, it is my understanding that February 19, 2021 at
11:30am is currently available for a remote sentencing in this case. I therefor ask
that Your Honor please adjourn Mr. Alvarado’s sentencing to February 19, 2021.
      Thank you for your consideration.
                                              Respectfully,



                                              Benjamin Gold
                                              Assistant Federal Defender

cc:   James Ligtenberg, A.U.S.A.
      James Mullen, U.S.P.O. Specialist
      Santos Alvarado
